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    12   SLATTERY, ESQ.

    13                           UNITED STATES DISTRICT COURT
    14
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    15
       DIAMOND RESORTS U.S.                             Case No. 2:20-cv-05486-DSF-ADS
    16 COLLECTION DEVELOPMENT,
    17 LLC, et al.,                                     Assigned to Hon. Dale S. Fischer
    18                 Plaintiffs,                      PURSUANT TO ORDER RE TRIAL
    19                                                  PREPARATION (ECF 787):
               vs.
    20
                                                        DEFENDANTS’ NOTICE OF
    21 PANDORA MARKETING, LLC d/b/a                     WITHDRAWAL RE: ARGUMENT
       TIMESHARE COMPLIANCE, et al.,                    THAT DIAMOND IS NOT A
    22
                                                        COMPETITOR OF PANDORA OR
    23                 Defendants.                      RAG
    24
    25 AND RELATED COUNTER-CLAIM
    26
    27
    28
                                                      -1-
         DEFENDANTS’ NOTICE OF WITHDRAWAL RE: ARGUMENT THAT DIAMOND IS NOT A COMPETITOR
                                       OF PANDORA OR RAG
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     1        TO THE HONORABLE DALE S. FISCHER, UNITED STATES
     2 DISTRICT COURT JUDGE:
     3        In this Court’s Order re Trial Preparation (ECF 787), the Court directed
     4 Defendants Pandora Marketing, LLC dba Timeshare Compliance (“TSC”), Slattery,
     5 Sobel & Decamp, LLP, Del Mar Law Group, LLP, Carlsbad Law Group, LLP, and
     6 JL “Sean” Slattery and Defendant/Counter-Claimant Intermarketing Media, LLC,
     7 dba Resort Advisory Group (“RAG”) (collectively “Defendants”) to submit a brief
     8 explaining their theory that Diamond is not a competitor of Pandora or RAG.
     9        Defendants hereby give notice to the Court and all parties that they withdraw
    10 the argument previously made in their Opposition to Diamond’s Motions in Limine
    11 that Diamond is not a competitor of Pandora or RAG.
    12 Dated: September 1, 2023             PANDA KROLL ESQ. & ASSOCIATES
                                            By: /s/ Panda Kroll
    13
                                                Panda Kroll
    14
    15                                      Attorneys for Defendant Pandora Marketing,
                                            LLC, dba Timeshare Compliance
    16
    17 Dated: September 1, 2023             LAW OFFICES OF DAVID A. KLEIN, PC
                                            By: /s/ David A. Klein
    18
                                                David A. Klein
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                                            Attorneys for Defendant and Counter-Claimant
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                                            Intermarketing Media, LLC d/b/a RESORT
    21                                      ADVISORY GROUP
    22
         Dated: September 1, 2023          CARLSBAD LAW GROUP
    23                                     By: /s/ David P. Hall
    24                                         David P. Hall

    25                                      Attorneys for Defendants SLATTERY, SOBEL &
    26                                      DECAMP, LLP, DEL MAR LAW GROUP, LLP,
                                            CARLSBAD LAW GROUP, LLP and JL “SEAN”
    27                                      SLATTERY, ESQ.
    28
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         DEFENDANTS’ NOTICE OF WITHDRAWAL RE: ARGUMENT THAT DIAMOND IS NOT A COMPETITOR
                                       OF PANDORA OR RAG
